
In re Fry, Bonnie Carol; Fry, Edward; Fry Cindy; Gray, Rodney; Gray, Evelyn; Gray, Stephen; Bobo, Russell; Elder, Judy; Stultz, Bobby Ray; Plaintiff(s); applying for writ of review to the Second Circuit Court of Appeal Nos. 30540-CA; 30541-CA; 30542-CA; 30543-CA; 30544-CA; 30545-CA; 30546-CA; 30547-CA; 30548-CA; 30449-CA; Parish of Caddo First Judicial District Court Nos. 372,534; 372,536; 372,537; 372,-538; 372,539; 372,540; 372,541; 372,542; 372,543; 373,143; 373,144.
Denied.
LEMMON, J., not on panel.
